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                    Exhibit 3
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                                                       Frequently Asked       Filed
                                                                        Questions     06/22/22
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                                      Products        Recipes        We Are Gorton’s             Responsibility    Wher




                         Frequently Asked
                            Questions
                   VOLUNTARY RECALL: GORTON’S
                   FISH SANDWICH FILLETS. SEE
                   BELOW FOR PRODUCT
                   INFORMATION.
                   GORTON’S 18.3OZ FISH SANDWICH FILLETS

                   UPC: 0 44400 15440 6

                   DATE CODE: 2060F2

                   CLICK HERE FOR FULL RECALL DETAILS

                   Where does Gorton’s source its seafood?
                   Because different species require different water temperatures and growing
                   conditions, Gorton’s sources its seafood from various waters around the globe.
https://www.gortons.com/frequently-asked-questions/                                                                  1/5
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                   Most of our seafood products are wild-caught species, caught primarily in the
                                 Products
                   Bering Sea, the               Recipes
                                   Barents Sea, the           We Ocean,
                                                    North Pacific Are Gorton’s       Responsibility
                                                                        and the Atlantic Ocean.                    Wher
                   We also procure farm-raised aquaculture seafood, including tilapia and shrimp,
                   from various countries, including Ecuador, China, Indonesia, Vietnam, and
                   India.

                   Regardless of where our seafood is caught and processed, Gorton’s uses the
                   same strict, rigorous quality control processes, to ensure that we provide you
                   with the safest, most wholesome, and delicious seafood products on the
                   market.

                   What is the expiration date on my item?
                   Gorton’s products do not have an expiration date. We use a “Best If Used By”
                   and print it on each package. This date will be 15-18 months from the date of
                   production. We recommend that you consume the product by this date for the
                   best flavor and quality.

                   Can I consume the product after the Best if Used By Date?
                   Yes- however, we don’t recommend it as we can’t promise that products older
                   than the “Best If Used By” date on the package will be of the same quality. The
                   fish may be drier or the breadcrumbs or batter might be soggier than it would
                   otherwise be. However, it is still perfectly safe to eat if cooked according to the
                   directions on the package.

                   How long can I keep Gorton’s in my freezer?
                   For optimal flavor and quality, use your Gorton’s product before the “Best If
                   Used By” date that is printed on the package. You can find the “Best If Used By”
                   date on the back or side of the package.

                   Where can I find the Air fryer directions?
                   Currently, we have Air Fryer directions available for nine products:

                        Beer Battered Fish Fillets
                        Crunchy Breaded Fish Sticks
                        Crunchy Breaded Fish Fillets
                        Crispy Battered Fish Fillets
                        Potato Crunch Fish Fillets
                        Fish Sandwiches
                        Parmesan Crusted Fish Fillets
https://www.gortons.com/frequently-asked-questions/                                                                  2/5
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                        Beer Battered Fish Tenders
                        Lemon HerbProducts       Recipes
                                    Crunchy Breaded  Fish FilletsWe Are Gorton’s                 Responsibility    Wher

                   To find these directions for the specific product you want to cook, click on
                   “Products” at the top of the webpage and then on “Delicious Classics.” Find and
                   click on your product. Then, scroll down to where it lists “Cooking Directions”
                   and click to open that pane. When you scroll down, directions for the Air Fryer
                   will be listed for your product.

                   Can I cook Gorton’s products in the microwave?
                   Product packaging will include all appropriate and tested cooking directions.

                   Here is a list of the current Gorton’s items that have microwave directions:

                        All of the Gorton’s Grilled Fish Fillet items
                        Shrimp Scampi
                        Value Pack Battered Fish Fillets (12 count)
                        Breaded Fish Sticks (20 and 90 count)
                        Value Pack Breaded Fish Sticks (44 count)



                   Our package directions are developed through extensive testing by culinary
                   experts in our research kitchens. For best results, we always suggest following
                   the directions provided on the package to prepare our products. The cooking
                   directions are designed to assure food safety and to deliver the highest quality.

                   Can I cook Gorton’s Seafood products in the toaster oven?
                   Yes, you may use a toaster oven but appliances vary by brand and size; thus we
                   cannot provide exact cooking time for every model. However, at Gorton’s, we
                   have tested various toaster oven models and recommend the same cook
                   temperature as indicated on the package as a starting point. Please be sure to
                   monitor the product closely and cook to the internal temperature required on
                   the package for fully cooked fish. It may take longer or quicker than the time
                   indicated on the package.

                   Is it safe to eat Gorton’s product after it has been thawed?
                   No. Our products should be prepared only from a frozen state. Do not refreeze
                   or cook any product which has thawed. If the product has thawed,
                   immediately discard the product.
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                   How can I get a coupon for Gorton’s products?
                                 Products
                   There are several              Recipes
                                     ways to obtain              We Are Gorton’s
                                                      Gorton’s coupons.  Sometimes weResponsibility
                                                                                        offer                      Wher
                   coupons online and if so, you can find them on the Offers page of our website.
                   Also, when you sign up for our free e-mail newsletter, you’ll occasionally be
                   notified of any special offers available. You can also follow us on Twitter,
                   Instagram, or “Like Us” on Facebook for the latest news on coupons and other
                   giveaways.

                   Unfortunately, we do not have coupons available to send upon request. Please
                   be advised that coupon fraud is on the rise. Protect yourself by never buying or
                   selling coupons.



                   How is Gorton’s trying to help the environment and protect our oceans and
                   fish?

                   For more information about our sustainability practices, you can visit our
                   sustainability page linked here.

                   Can Gorton’s provide a Product Formulation Sheet?
                   Yes, we have this available for our Super Crunchy Fish Sticks, which can be
                   found here, as well as our Family Pack Fish Sticks, which can be found here.

                   Is there supposed to be an inner bag in the box?

                   Our packaging is designed to meet the needs of each individual product and to
                   meet our environmental goals; thus, some items contain an inner bag and
                   others do not. Whether a product contains an inner bag or not, you can be
                   assured that all products are crafted to maintain freshness during storage and
                   are packed in food-grade packaging by low-touch/high-sanitary means.




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                                      Products             Recipes          We Are Gorton’s             Responsibility             Wher
                                                  Products               Seafood                Company               Connect
                                                  Delicious
                                                                         Recipes                We Are Gorton’s       Find your
                                                  Classics               Time Saving            Careers               Favorites
                                                  Smart Solutions        Foodie Approved        Special Offers        Contact Us
                                                  Everyday Gourmet       Kid Friendly           Privacy Policy
                                                                         Smart Meal             Notice of
                                                                         Choices                Collection
                                                                                                Legal Notice
                                                                                                News
                                                                                                Frequently Asked
                                                                                                Questions

                                                             Also of Interest
                                                            gorton fisherman
                                                               cod fillets
                                                        New England Style Haddock




https://www.gortons.com/frequently-asked-questions/                                                                                  5/5
